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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                         v.
                                                   Case No. 21-CR-82 (CJN)
 DYLAN CRASE and
 TROY WILLIAMS,
                                                   Hearing Date:      September 14, 2021

 Defendants.



                         CONSENT MOTION FOR CONTINUANCE

       The United States of America hereby respectfully moves the Court to continue the status

hearing for September 14, 2021. At the last status hearing on August 19, 2021, this Court

continued the status conference in this matter at the joint request of the parties. Government

counsel indicated that it believed a significant amount of discovery would be soon provided to

both defendants and that plea offers have also been extended. While significant discovery has

since been provided to defendant Williams, the government discovery team has encountered

production issues as it relates to defendant Crase. The government hopes to remedy that problem

shortly. In light of the delay in providing this discovery, and representations from defendants’

counsel that they need more time to review the discovery and plea, the parties are seeking a 30-

day continuance for another status hearing, which may be telephonic if the parties have not yet

reached a resolution.

        The parties have conferred about a possible new date and are requesting a status date after

October 12th. Additionally, the parties are jointly requesting a continuation of tolling of the

Speedy Trial Act, as the additional time needed to take these steps is in the public and parties’

interests, the additional time requested is appropriate given Covid-19 issues, and the possibility of
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a possible pretrial resolution, and is in the interests of justice.



                                                 Respectfully submitted,

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                                         By:               /s/
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